          Case 3:21-cv-00034-EMC Document 85 Filed 11/02/22 Page 1 of 2



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12                               UNITED STATES DISTRICT COURT

13                             NORTHERN DISTRICT OF CALIFORNIA

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15   GEORGE E. BARICH and LAURIE                 Case 3:21-cv-00034-EMC
     ALDERMAN,
16                                               [PROPOSED] ORDER GRANTING
             Plaintiffs,                         PLAINTIFFS’ ADMINISTRATIVE
17                                               MOTION FOR PERMISSION TO FILE A
     v.                                          SUR-REPLY BRIEF IN RESPONSE TO
18                                               DEFENDANT’S ORAL ARGUMENT RE
     CITY OF COTATI and JOHN A.                  THE BROWN ACT
19   DELL’OSSO,
                                                 [Civil Local Rule 7-11]
20           Defendants.
                                                 Complaint filed: January 5, 2021
                                                 Trial date: January 30, 2023
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                                          [PROPOSED] ORDER
        Case 3:21-cv-00034-EMC Document 85 Filed 11/02/22 Page 2 of 2



 1
            FOR GOOD CAUSE, the Court GRANTS Plaintiffs’ administrative motion to allow
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     Plaintiffs to file the proposed sur-reply brief submitted with this administrative motion. The
 3
                    7 days to file a response to the sur-reply brief.
     Defendant has __
 4
            IT IS SO ORDERED.
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 8          November 2, 2022
     Dated: __________________                     ________________________________________
                                                   THE HONORABLE EDWARD M. CHEN
 9                                                 United States District Judge
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                                                [PROPOSED] ORDER
